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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

   IN RE:                                             :       CHAPTER 11
                                                      :
   BEAUTIFUL BROWS LLC,                               :       CASE NO. 18-66766-JWC
                                                      :
            Debtor.                                   :
                                                      :


                                          REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 11 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                      1.

            By Order entered on August 1, 2018 [Doc. No. 162], this Court authorized the

   Trustee to sell by internet auction personal property of the estate known as an Acura

   MDX sport utility vehicle (the “Acura”) and a Mercedes-Benz GL Class sport utility

   vehicle (the “Mercedes” and with the Acura, the “Vehicles”). The Trustee held a public

   on-line auction of the Vehicles, which concluded on August 15, 2019. The Acura sold for

   $13,700.00 to Michael Demessa (Bidder # 10002) and the Mercedes sold for $18,100.00

   to Andrew Hyun (Bidder # 10059)1. Attached as Exhibit “A” is the Seller Statements and

   the Priced Lot List, which provides an accounting of the auction proceeds, a listing of the

   individual items sold, the winning bidder numbers and winning bid amounts.




   1
   The total paid by the purchasers was $34,980.00, which includes a buyer’s premium of $3,180.00 which
   was paid to the Trustee’s auctioneer, Bullseye Auction & Appraisal.
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                                              2.

          The Trustee reports that he has completed the delivery of the Vehicles to the

   purchasers and netted $31,300.00 from the auction after payment of the auctioneer’s

   expenses.

          Respectfully submitted this 21st day of August, 2019.



                                                         /s S. Gregory Hays
                                                      S. Gregory Hays
   Hays Financial Consulting, LLC                     Chapter 11 Trustee
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
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                                  Exhibit “A”
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                                      500 Pike Park Drive | Suite F | Lawrenceville, GA 30046
                                                770-544-7479 phone | 888-544-7479 fax
                                                   www.BullseyeAuctions.com


                                                    Seller Settlement

               Seller Information                                                       Auction Information
     Seller Name: S. Gregory Hays                                           Auction: 2013 Mercedes-Benz & 2014 Acura MDX
  Company Name: Hays Financial Consulting, LLC                                  Date: Thursday, August 15, 2019
         Address: 2964 Peachtree Road                                          Time: 10:00 AM EDT
                     Suite 555                                              Location: 500 Pike Park Drive, Ste. F
 City, State & Zip: Atlanta, GA 30305-2153                                              Lawrenceville, GA 30046
   Email Address: ghays@haysconsulting.com
           Phone: 404-926-0051



                                                             Expenses
      Date              Amount               Merchant                                           Description
         8/19/2019               $7.35 Deluxe                        Settlement E Check
         8/15/2019           $50.00 Bidwrangler                      Online Auction Access
          8/9/2019           $29.15 Internet Database Access         Advertising
         5/18/2019          $215.00 WAKC                             Towing
          8/2/2019          $276.29 Pep Boys                         Batteries
          8/8/2019           $60.00 Jay Gonzalez                     Mobile Mechanic
          8/9/2019           $70.00 Contract Labor                   Washing Vehicles
Total of Expenses:          $707.79



                                                                 Summary
                                                Auction Gross:             $34,980.00
                Auctioneer Commission (Buyer's Premium):                   -$3,180.00
                                      Adjusted Auction Gross:              $31,800.00
                                      Total Auction Expenses:                -$707.79
                                                                           $31,092.21
                                                      Credits:                $207.79 (marketing expenses exceeded $500 budget)
                                        Auction Net to Seller:             $31,300.00
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                                 Beautiful Brows II
                                (Bankruptcy Case #18-66766-JWC)


                                      Priced Lot List
Lot #                                 Description                                     Bidder          Price
        2013 Mercedes-Benz GL Class Utility 4D / VIN 4JGDF2EE6DA245882​​ (89,800
  1     Miles) - 2013 Mercedes-Benz GL Class Utility 4D / VIN 4JGDF2EE6DA245882       10059          $18,100.00
        (89,800 Miles)
        2014 Honda Acura MDX / VIN 5FRYD3H46EB002522 (108,771 Miles) - 2014
  2                                                                                   10002          $13,700.00
        Honda Acura MDX / VIN 5FRYD3H46EB002522 (108,771 Miles)
                                                                           Total of All Lots Sold:   $31,800.00
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                                CERTIFICATE OF SERVICE

          I hereby certify that I am over the age of 18 and that on this day I served a copy of

   the foregoing REPORT OF SALE by first class U.S. Mail, with adequate postage prepaid

   on the following persons or entities at the addresses stated:

              Thomas Wayne Dworschak
              Office of the United States Trustee
              362 Richard B. Russell Building
              75 Ted Turner Drive, SW
              Atlanta, GA 30303

              Beautiful Brows LLC
              5002 North Royal Atlanta Dr
              Suite M
              Tucker, GA 30084

              Jason L. Pettie
              Jason L. Pettie, PC
              P.O. Box 17936
              Atlanta, GA 30316

   Dated: August 21, 2019.

                                                            /s S. Gregory Hays
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
